                                                                                   FILED
                                                                          2025 Jan-30 AM 07:29
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA


CASSANDRA SIMON, SYDNEY
TESTMAN, MIGUEL LUNA, ISABELLA
CAMPOS, DANA PATTON, RICHARD
FORDING AND THE ALABAMA STATE
CONFERENCE OF THE NAACP                      Case No. 2:25-cv-00067-MHH

Plaintiffs,

v.

KAY IVEY in her official capacity as
Governor of Alabama and President Ex-
Officio of the University of Alabama Board
of Trustees, SCOTT PHELPS in his official
capacity as President Pro Tempore,
University of Alabama Board of Trustees,
MIKE BROCK, KAREN BROOKS,
MYLA E. CALHOUN, RONALD GRAY,
JEFF GRONBERG, O.B. GRAYSON
HALL JR., BARBARA HUMPHREY, W.
DAVIS MALONE III, EVELYN
VANSANT MAULDIN, HARRIS
MORRISSETTE, J. STEVEN ROY,
KENNETH SIMON, MARIETTA
URQUHART and KENNETH
VANDERVOORT in their official
capacities as members of the University of
Alabama Board of Trustees

Defendants.


              MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
                MOTION FOR PRELIMINARY INJUNCTION


                                      i
                                 INTRODUCTION

      The “chief mission” of public colleges and universities “is to equip students

to examine arguments critically and, perhaps even more importantly, to prepare

young citizens to participate in the civic and political life of our democratic

republic.” Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1128 (11th Cir. 2022). To

achieve this mission, professors and students must be allowed to grapple with

complex histories and social theories, and to encourage discussion of difficult topics,

both inside the classroom and in extracurricular campus activities.

      Yet, Senate Bill 129 violates Plaintiffs’ First Amendment rights by restricting

their speech, their receipt of information, and their access to university space and

funding, simply because the views expressed by these students and educators are

disfavored by elected politicians. For example, SB 129 identifies eight so-called

“divisive concepts”—concepts concerning race, color, religion, sex, ethnicity and

national origin—that the Alabama Legislature has unilaterally disfavored.

Professors who “advocate[] for” such concepts in their classes or in their assigned

course materials face discipline or termination. Ex. A 4:77. At the same time, SB

129 places no restrictions on the speech of professors who express opposition to

these so-called “divisive concepts.” Concomitantly, SB 129 prevents students from

receiving important information that may be considered a “divisive concept,”

thereby depriving them of contrasting views. SB 129 further engages in

                                          1
constitutionally impermissible viewpoint discrimination by barring university

funding and physical space for student organizations that are deemed to be operating

“diversity, equity, and inclusion programs.” Ex. A 4:68-71.

      To make matters worse, the text of SB 129 is unconstitutionally vague,

making it impossible to determine what falls within the scope of the law. The law

contains supposed safe harbors for “divisive concepts” that are taught in an

“objective” or “historically accurate” manner but fails to provide sufficient guidance

on what constitutes a “divisive concept” or what would constitute teaching in an

“objective” or “historically accurate” manner. See Ex. A. Indeed, some of the

concepts at issue may be hotly debated with competing viewpoints while other

concepts may be widely acknowledged as research-based facts.

      Plaintiffs Dr. Cassandra Simon, Miguel Luna, Sydney Testman, and Alabama

NAACP seek a preliminary injunction to stop the ongoing, irreparable harm flowing

directly from SB 129’s unconstitutional restrictions. Professor Simon, an Associate

Professor of Social Work at the University of Alabama (“UA”) currently teaches a

course titled Anti-Oppression and Social Justice that likely implicates all of SB

129’s “divisive concepts.” She faces the constitutionally untenable position of either

self-censoring her classroom instruction or materials or facing severe consequences

for violating the law. Simon Decl. ¶¶ 21-25. Last fall, while teaching this same class,

she was accused of violating SB 129 and threatened with discipline or termination.

                                          2
      Plaintiffs Luna, Testman, and Alabama NAACP, who are students—or have

members who are students—in public universities (University of Alabama

Birmingham and UA), are deprived of their right to receive information when

professors do not provide the full breadth of their knowledge, expertise, and

scholarship for fear of promoting a banned viewpoint. Both student Plaintiffs Luna

and Testman also were officers of student organizations that lost funding as a result

of SB 129. SB 129 likewise has harmed student members of Plaintiff Alabama

NAACP, who lost access to programming and use of space when UA, citing SB 129,

withdrew funding for certain student organizations, including the Black Student

Union (“BSU”) and the Safe Zone Resource Center (which focuses on issues

confronting LGBTQIA students). Alabama NAACP Decl. ¶ 12. Alabama NAACP’s

UA student chapter similarly risks losing access to state university funding and the

use of university space if it is considered to be a “diversity, equity, and inclusion

program.”

      This case stands on all fours with Pernell v. Fla. Bd. of Governors of State

Univ. Sys., 641 F. Supp. 3d 1218 (N.D. Fla., 2022), in which a federal district court

enjoined the enforcement of similar restrictions in Florida public universities. In

Pernell, a group of college professors and students moved for a preliminary

injunction against Florida’s “Stop W.O.K.E.” Act, which prohibited any

“instruction” that “promotes” or “compels” belief in eight specified divisive

                                         3
concepts—a law with language that is nearly identical to SB 129. Id. at 1231. Judge

Walker granted the preliminary injunction, holding that the “dystopian” law violated

the United States Constitution because it constituted impermissible viewpoint

discrimination and vagueness grounds. Id. at 1291 (“[T]he First Amendment does

not permit the State of Florida to muzzle its university professors, impose its own

orthodoxy of viewpoints, and cast us all into the dark.”).

      Accordingly, Plaintiffs respectfully request that the Court preliminarily enjoin

SB 129 and protect them from the irreparable harm of violations to their First

Amendment and Fourteenth Amendment due process rights.

                           FACTUAL BACKGROUND

      Under SB 129, an Alabama university may not “[r]equire its students,

employees, or contractors to attend or participate in any diversity, equity, and

inclusion program or any training, orientation, or course work that advocates for or

requires assent to a divisive concept.” Ex. A 4:74-77. The legislation lists eight

divisive concepts:

      [A] That any race, color, religion, sex, ethnicity, or national origin is
      inherently superior or inferior; (b) That individuals should be discriminated
      against or adversely treated because of their race, color, religion, sex,
      ethnicity, or national origin; (c) That the moral character of an individual is
      determined by his or her race, color, religion, sex, ethnicity, or national origin;
      (d) That, by virtue of an individual’s race, color, religion, sex, ethnicity, or
      national origin, the individual is inherently racist, sexist, or oppressive,
      whether consciously or subconsciously; (e) That individuals, by virtue of race,
      color, religion, sex, ethnicity, or national origin, are inherently responsible for
      actions committed in the past by other members of the same race, color,
                                           4
      religion, sex, ethnicity, or national origin; (f) That fault, blame, or bias should
      be assigned to members of a race, color, religion, sex, ethnicity, or national
      origin, on the basis of race, color, religion, sex, ethnicity, or national origin;
      (g) That any individual should accept, acknowledge, affirm, or assent to a
      sense of guilt, complicity, or a need to apologize on the basis of his or her
      race, color, religion, sex, ethnicity, or national origin; (h) That meritocracy or
      traits such as a hard work ethic are racist or sexist.

Ex. A 2:23-3:50.

       In addition, SB 129 prohibits Alabama public colleges and universities and

their contractors from taking various actions related to “diversity, equity, and

inclusion” programs and “divisive concepts.” Ex. A 2:23-2:50, 3:51-4:58.

“Diversity, equity, and inclusion” programs are defined as “[a]ny program, class,

training, seminar, or other event where attendance is based on an individual's race,

sex, gender identity, ethnicity, national origin, or sexual orientation, or that

otherwise violates this act.” Ex. A 3:51-3:55.

      Pursuant to SB 129, any public university professor who is found to have

violated the law may face discipline or termination. Ex. A 5:98-6:117. The members

of the UA Board of Trustees have the primary responsibility for ensuring compliance

with SB 129 on campuses in the system. See id. Professors in a variety of disciplines,

including Professor Simon at the University of Alabama School of Social Work, fear

they will be penalized for instructing students or requiring course work on these

eight “divisive concepts.” Professor Simon currently teaches a university-approved

course titled Anti-Oppression and Social Justice and has taught this class for the past

                                           5
twenty years without issue until the enactment of SB 129. Due to SB 129, Professor

Simon fears discipline or termination for teaching this class and indeed has already

been threatened once with discipline or termination. Simon Decl. ¶ 31.

       Similarly, student academic instruction and student extracurricular life have

been impacted by SB 129. Plaintiff Miguel Luna is junior at the University of

Alabama at Birmingham (“UAB”) and fears that his curriculum will be censored due

to SB 129. Luna Decl. ¶¶ 10, 13. In addition, Plaintiff Luna cannot apply for

university funding for a Latine1 student group he co-founded at UAB due to SB 129.

Luna Decl. ¶¶ 19-21. Similarly, Plaintiff Sydney Testman formerly served as the

finance coordinator of UAB’s Social Justice Advocacy Council (“SJAC”), a former

University Funded Organization (“UFO”)2 that hosted programs on social justice

issues or provided funding to other student groups to host social justice related

programming on campus. Due to SB 129 this group was also defunded and caused

Plaintiff Testman to lose access to state funding and a stipend. Testman Decl. ¶¶ 8-

10. Members of Plaintiff Alabama NAACP have lost access to both the BSU office

and Safe Zone because of SB 129. Alabama NAACP Decl. ¶ 12.




       1
         Latine is defined as of, relating to, or marked by Latin American heritage.
       2
         At the University of Alabama at Birmingham, UFOs receive automatic funding from the
University, as compared to Registered Student Organizations (“RSO”), which do not receive any
designated funding but instead must submit a request that may be granted at the University’s
discretion.
                                             6
                                    ARGUMENT

      A preliminary injunction is warranted under Fed R. Civ. P. 65 if Plaintiffs

show: “(1) a substantial likelihood of success on the merits; (2) irreparable injury

will be suffered unless the injunction issues; (3) the threatened injury to the

movant[s] outweighs whatever damage the proposed injunction may cause to the

opposing party; and (4) if issued, the injunction would not be adverse to the public

interest.” Charles H. Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1354 (11th

Cir. 2005) (quoting Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en

banc)). As set forth below, Plaintiffs satisfy all four prongs of this standard.

I.    Plaintiffs are Likely to Succeed on the Merits of Their Claims.

      A.     SB 129 Imposes Viewpoint-Based Restrictions in Higher
             Education in Violation of the First Amendment.

      It is a cardinal principle of the First Amendment that “the government may

not regulate speech based on . . . the message it conveys.” Rosenberger v. Rector &

Visitors of Univ. of Va., 515 U.S. 819, 828 (1995). When the government targets not

subject matter but rather the particular views of the speaker on that subject matter,

the First Amendment violation “is all the more blatant.” Id. at 829 (citing R.A.V. v.

St. Paul, 505 U. S. 377, 391 (1992)). “The government must abstain from regulating

speech when the specific motivating ideology or the opinion or perspective of the

speaker is the rationale for the restriction.” Id. at 829. Thus, viewpoint-based

discrimination is one of the most “egregious types of First Amendment violations,”

                                           7
and is “presumptively unconstitutional.” Id. at 829-830; see also Holloman ex rel.

Holloman v. Harland, 370 F.3d 1252, 1279 (11th Cir. 2004); Moms for Liberty -

Brevard Cnty. v. Brevard Pub. Sch., 118 F.4th 1324, 1332 (11th Cir. 2024).

       “[T]he dangers of viewpoint discrimination are heightened in the university

setting.” Speech First, 32 F.4th at 1127 n.6 (quoting Gay Lesbian Bisexual All. v.

Pryor, 110 F.3d 1543, 1550 (11th Cir. 1997)); see also Bazaar v. Fortune, 476 F.2d

570, 572-73, 579-80 (5th Cir. 1973), modified on reh’g, 489 F.2d 225 (5th Cir.

1973).3 “Time after time the Supreme Court has upheld academic freedom in the

face of government pressure.” In re Dinnan v. Bd. of Regents of Univ. Sys. of Ga.,

661 F.2d 426, 430 (5th Cir. 1981) (citing Cramp v. Bd. of Pub. Instruction, 368 U.S.

278, 82 (1961); Sweezy v. New Hampshire, 354 U.S. 234 (1957); Wieman v.

Updegraff, 344 U.S. 183 (1952)). Academic freedom is “a special concern of the

First Amendment, which does not tolerate laws that cast a pall of orthodoxy over the

classroom.” Keyishian v. Bd. of Regents of Univ. of State of N.Y., 385 U.S. 589, 603

(1967).

       A state has the right to regulate, within constitutional bounds, the curriculum

taught in public universities. Rosenberger, 515 U.S. at 833; see Bd. of Regents of the

Univ. of Wis. v. Southworth, 529 U.S. 217, 238 (2000) (quoting Sweezy, 354 U.S. at


       3
         The U.S. Court of Appeals for the Eleventh Circuit has adopted, as binding precedent,
decisions issued by the former U.S. Court of Appeals for the Fifth Circuit prior to October 1, 1981.
See Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).
                                                 8
263 (Frankfurter J., concurring)). For example, a state may decide which languages

are taught in its foreign languages department or how many professors it will fund

in a math department. But once the state has allowed inclusion of a subject into the

curriculum, “it cannot impose its own orthodoxy of viewpoint about the content it

allowed within the university classrooms.” Pernell, 641 F. Supp. 3d at 1273;

Rosenberger, 515 U.S. at 835 (holding that once the university offers funding to

student groups, it may not withhold funding from groups with religious viewpoints).

      By its own terms, SB 129 imposes viewpoint discrimination that violates the

First Amendment. SB 129 expressly prohibits “course work that advocates for or

requires assent to a divisive concept.” Ex. A 4:76-77. Each of the “divisive concepts”

is framed as a viewpoint. For example, one “divisive concept” provides “[t]hat, by

virtue of an individual's race, color, religion, sex, ethnicity, or national origin, the

individual is inherently racist, sexist, or oppressive, whether consciously or

subconsciously.” Ex. A 3:32-35. Another defined concept is “[t]hat meritocracy or

traits such as a hard work ethic are racist or sexist.” Ex. A 3:49-50. Thus, a professor

who presents scholarly evidence showing that the theory of implicit bias is well-

founded, or that we do not live in a color-blind meritocracy is likely at risk of being

found to have advocated for a “divisive concept” and thus to have violated SB 120.

However, SB 129 places no restrictions on a professor advocating for, or indeed

insisting upon, the contrary viewpoint that implicit bias does not exist or that

                                           9
professional achievement is color blind. The same is true for the other six “divisive

concepts”—SB only prohibits the viewpoint with which the legislature disagrees.

See, e.g., Iancu v. Brunetti, 588 U.S. 388, 394 (2019) (finding viewpoint-based

restriction because law “favors” views “aligned with conventional moral standards”

and “disfavors” views “hostile to them”).

      The consequences of this First Amendment violation in the university setting

are particularly dangerous and undermine the “historical role of the University in . .

. serving in the vanguard in the fight for freedom of expression and opinion.” Bazaar,

476 F.2d at 58; see also Speech First, 32 F.4th at 1127 n.6. SB 129’s sweeping

suppression of disfavored speech is presumptively unconstitutional. Moreover, were

the suppression subject to strict scrutiny, it is neither narrowly tailored nor with a

legitimate—let    alone   compelling—governmental         interest   because   it   is

impermissible to silence viewpoints merely for being disfavored. See Minn. Voters

All. v. Mansky, 585 U.S. 1, 11 (2018) (“[R]estrictions based on content must satisfy

strict scrutiny, and those based on viewpoint are prohibited.”).

             1.    Viewpoint-Based Restriction of Professors’ Right to Free
                   Speech and Academic Freedom

      SB 129 is a broad and sweeping legislation that prophylactically bans public

college and university professors from expressing certain viewpoints about eight

divisive concepts. The law’s chill on protected speech is expansive, causing serious



                                         10
harm to thousands of instructors across Alabama. 4 See Pernell, 641 F. Supp. 3d at

1277 (finding that Florida’s sweeping viewpoint-based prohibition on professors’

protected speech weighed against state’s interest in the ban); see also United States

v. Nat’l Treas. Emp’s Union, 513 U.S. 454, 468 (1995) (noting that state faces a

heavy burden to justify a broad restriction on expression of protected speech).

       The First Amendment harms inflicted by SB 129 are particularly clear “in the

social sciences, where few, if any, principles are accepted as absolutes[,] . . . [and

t]eachers and students must always remain free to inquire, to study and to evaluate,

to gain new maturity and understanding; otherwise our civilization will stagnate and

die.” Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957).

       Professor Simon currently teaches a class at UA titled Anti-Oppression and

Social Justice. UA’s course catalogue describes the class as follows: “This course

examines issues related to the lived experiences of people based on age, culture,

race, ethnicity, gender/gender identity/gender expression, sexual orientation,

socioeconomic status/class, ability, religion/spirituality, and national origin. It is

designed to introduce the student to social, economic, and political systems of power

that serve to oppress communities that have been minoritized.” Simon Decl. ¶ 14.


       4
         University of Alabama boasts over 2,000 faculty in 2024. Faculty by Rank, Tenure Status,
and Job Status, Univ. Ala., https://oira.ua.edu/factbooklegacy/reports/faculty-and-staff/faculty-
by-rank-tenure-status-and-job-status/ (last accessed Jan. 27, 2025). UAB had over 3,000 in 2023.
Facts      and      Figures,      Univ.       Ala.      at     Birmingham      (June      2024),
https://www.uab.edu/institutionaleffectiveness/images/documents/facts-figures/factsfigures2023-
2024.pdf#page=68.
                                               11
This course potentially implicates every one of SB 129’s divisive concepts. For

example, Professor Simon teaches her students about structural racism, implicit bias,

White privilege, inequity of health care, and the lack of a color-blind meritocracy.

Every time that Professor Simon, for example, explains that implicit bias or White

privilege is a real and evidence-based, she runs the risk of violating SB 129 and thus

risks discipline or termination. See Ex. A 4:72-77, 5:86-89.

      SB 129 requires Professor Simon to make the untenable choice of self-

censoring her classroom instructions or materials, or expressing views in her course

that, as a result, risk violating SB 129 and leading to severe penalties despite these

“divisive topics” being key to prepare her students for a future career in social work.

Simon Decl. ¶¶ 3, 5, 17, 42, 48. Professor Simon’s fears of discipline or termination

are not only well-founded based on the text of SB 129, but she has also already been

accused of violating SB 129 and threatened with adverse consequences by UA

administrators. Simon Decl. ¶ 31. During the fall 2024 semester, administrators in

the School of Social Work informed her that a protest of SB 129, selected and

organized by her students as part of a class project, violated SB 129.

             2.     Viewpoint-Based Restriction on Students’ Right to Receive
                    Information

      The Supreme Court has long held that the First Amendment protects not only

the right to speak but also “the right to receive information and ideas.” Stanley v.

Georgia, 394 U.S. 557, 564 (1969). This, too, applies with special force in the higher

                                          12
education context. Speech First, 32 F.4th at 1128; see also Arce v. Douglas, 793

F.3d 968, 988 (9th Cir. 2015) (recognizing that students’ “First Amendment right to

receive information” was implicated by an Arizona law seeking to suppress a

Chicano Studies curriculum).

      Students are better prepared for participation in a diverse society if they are

“trained through wide exposure to that robust exchange of ideas which discovers

truth ‘out of a multitude of tongues, (rather) than through any kind of authoritative

selection.’” Keyishian, 385 U.S. at 603 (parenthetical in original) (quoting United

States v. Associated Press, 52 F. Supp. 362, 372 (S.D.N.Y. 1943)). SB 129 denies

students that training. Indeed, it denies them the opportunity to sharpen their minds

by engaging in debate with differing viewpoints and instead mandates which views

students are permitted to learn.

      For example, Plaintiff Luna has taken several classes about race and gender

at UAB and credibly fears that SB 129 will cause his professor to refrain from

providing all the information available in past versions of the course and limit expert

views and opinions about topics that may fall under the divisive concept ban of SB

129. Luna Decl. ¶¶ 3, 10, 11, 12, 14. Plaintiff Luna is currently enrolled in a course

titled Environmental Politics, which addresses multiple “divisive concepts” in its

coverage of environmental justice, and how race, class, and gender may affect

inequitable outcomes with regard to environmental health. Luna Decl. ¶ 13-14. His

                                          13
professor has placed an SB 129 “disclaimer” on course materials. Luna Decl. ¶ 10,

11. Last semester, in a course titled Human Rights, the same professor was visibly

uncomfortable and tentative when discussing the incarceration of minorities in

Alabama. This discomfort reflects the chill on speech caused by SB 129. When that

chill occurs, students, including Plaintiff Luna, are directly harmed.

              3.    Viewpoint-Based Restrictions on Student Groups’ Public
                    Funding and Freedom of Association

      “[E]xtracurricular programs are, today, essential parts of the educational

process.” Christian Legal Soc. Chapter of the Univ. of Cal. v. Martinez, 561 U.S.

661, 686 (2010). When a university has “created a forum generally open for use by

student groups,” it “assume[s] an obligation to justify its discriminations and

exclusions under applicable constitutional norms.” Widmar v. Vincent, 454 U.S. 263,

267 (1981).

      The Supreme Court’s decision in Rosenberger v. Rector & Visitors of Univ.

of Virginia is instructive. In Rosenberger, the Supreme Court held that a university

funding policy violated the First Amendment because it “cast disapproval on

particular viewpoints.” 515 U.S. at 836. The university denied a student group

funding for its newspaper, “Wide Awake: A Christian Perspective at the University

of Virginia,” based on guidelines prohibiting funding for activities that “primarily

promote[] or manifest[] a particular belie[f] in or about a deity or an ultimate reality.”

Id. at 826. The Court held that the student activities fund served as a limited public

                                           14
forum, which must provide funding without discrimination against a specific

viewpoint— in that case, the view related to the existence of a deity—once the fund

was available to university sponsored publications. Id. at 830-31. The Rosenberger

Court dismissed, as unconstitutional, statutes like SB 129, stating that “[i]f the topic

of debate is, for example, racism, then exclusion of [targeted] views on that problem

is . . . offensive to the First Amendment . . . .” Id. at 831.

       Similarly to Rosenberger, UAB created a limited public forum by providing

state university funding to its student organizations. In compliance with SB 129, that

funding process is based, in part, on the student group’s perceived support of any

“divisive concept” through its programmatic activities, thus failing to ensure

viewpoint neutrality in the university funding process. See Ex. A 4:68-71, 5:92-97.

As Plaintiff Testman explains, UAB downgraded Social Justice Advocacy Council

(“SJAC”) from a UFO to an RSO following SB 129’s passage, causing the student

organization to lose thousands of dollars in university funding. Testman Decl. ¶¶ 8-

9. University officials notified Plaintiff Testman that both the demotion of SJAC to

an RSO and the restriction on university funding resulted from mandatory

enforcement of SB 129. Id. Notably, “social justice” is not included in any of the

eight divisive concepts nor does SJAC fall within SB 129’s definition of a “diversity,

equity, and inclusion program;” thus, UAB’s demotion and funding restriction was




                                            15
due to some presumed association between “social justice” and the divisive concepts

banned by SB 129.

       SB 129 restricted SJAC from receiving state funds to host any social justice

events themselves or to provide money to other RSOs to host their own social justice

events. Last year, SJAC contributed funding for a multitude of student-led events,

but this year SJAC is unable to provide financial support for its own programming

or any of these or other similar campus events due to SB 129. Testman Decl. ¶ 8,

Luna Decl. ¶ 22. Moreover, UAB rescinded stipends that had been provided to some

executive members of the student groups targeted by SB 129—like Plaintiff

Testman, who lost opportunities to contribute to the UAB community and receive

financial compensation for that work. Testman Decl. ¶ 10.

      Plaintiff Luna co-founded Esperanza, an organization for Latine students at

UAB, in the Spring of 2024. Because Esperanza does not receive university funding

as a UFO, it previously relied on financial support from other sources, such as

UAB’s former Office of Diversity, Equity, and Inclusion, and student organizations

like SJAC. Luna Decl. ¶¶ 18, 22. However, Plaintiff Luna was informed by a

university official that UAB would deny funding to Esperanza for any event that is

deemed to be related to a “divisive concept.” Luna Decl. ¶ 21. Thus, Esperanza very

likely cannot access state university funding sources and consequently cannot




                                        16
provide the same level of support to its members that it had provided prior to SB

129’s implementation. Luna Decl. ¶¶ 21, 23, 24.

       UAB’s denial of university funding to Esperanza, SJAC, and other student

organizations, based simply on whether the group may promote or espouse

viewpoints disfavored by the Alabama Legislature, constitutes viewpoint-based

discrimination against these groups in violation of the First Amendment. See Amidon

v. Student Ass’n of State Univ. of N.Y. at Albany, 508 F.3d 94, 102 (2d Cir. 2007)

(“Favoritism of majority views is not an acceptable principle for allocating resources

in a limited public forum.”).

      Similarly, UA’s allocation of student funding based on the student

organization’s viewpoint, pursuant to SB 129, infringes on Plaintiff Alabama

NAACP’s freedom of association rights. According to the Supreme Court, implicit

in the right to engage in activities protected by the First Amendment is a

corresponding right to associate with others in “pursuit of a wide variety of political,

social, economic, educational, religious, and culture ends.” Roberts v. U.S. Jaycees,

468 U.S. 609, 622 (1984) (citations omitted). Yet, due to SB 129’s restrictions,

members of previously funded student groups are no longer able to fully associate

with their peers at UA.

      Specifically, SB 129 has caused members of Plaintiff Alabama NAACP at

UA to lose access to programs and space provided by student organizations (BSU

                                          17
and Safe Zone) focused on UA’s Black and/or LGBTQIA communities. Alabama

NAACP Decl. ¶ 12. For example, members of the Alabama NAACP who used the

BSU and Safe Zone lost designated physical campus spaces and a variety of

programming due to SB 129 which has harmed members of the Alabama NAACP.

Id. Black and LGBTQIA members of the Alabama NAACP previously used these

spaces to network, host student leaders’ offices and have a space to socialize with

peers who share common affinities. Alabama NAACP Decl. ¶ 16. SB 129 harms

these students by restricting them from continuing to have these opportunities. SB

129, therefore, infringes on the rights of Plaintiff NAACP of Alabama’s members to

have full access to campus spaces and programming while allowing campus spaces

and programming for other university groups that are not at risk of falling within the

state’s definition of “diversity, equity, and inclusion” or “divisive concepts.”

      B.     SB 129 is Impermissibly Vague in Violation of the Fourteenth
             Amendment’s Due Process Clause.

      SB 129 is unconstitutionally vague in violation of the Fourteenth Amendment.

The Supreme Court has held that vague laws implicating speech are particularly

concerning. See Ashton v. Kentucky, 384 U.S. 195, 200 (1966); see also Reno v.

ACLU, 521 U.S. 844, 871-72 (1997) (holding that a vague regulation of speech

“raises special First Amendment concerns because of its obvious chilling effect on

free speech”). Indeed, the Supreme Court has warned that, especially in education

contexts, “[t]he danger of [the] chilling effect upon the exercise of vital First

                                          18
Amendment rights must be guarded against by sensitive tools which clearly inform

teachers what is being proscribed.” Keyishian, 385 U.S. at 604. SB 129’s lack of

clarity forces Plaintiffs to sanitize classroom discussions, thus having the exact

“chilling effect” that the Supreme Court cautioned to avoid.

       There are two independent reasons why a statute may be void for vagueness.

“First, if it fails to provide people of ordinary intelligence a reasonable opportunity

to understand what conduct it prohibits. Second, if it authorizes or even encourages

arbitrary and discriminatory enforcement.” Hill v. Colorado, 530 U.S. 703, 732

(2000); accord Wollschlaeger v. Governor, 848 F.3d 1293, 1319 (11th Cir. 2017)

(en banc). SB 129 fails on both counts. The language in SB 129 makes it impossible

to discern what does, and does not, fall within the prohibited “divisive concepts” or

“diversity, equity, and inclusion programs” and what might be excused as

permissible activity under the various caveats to the law. Additionally, the law

provides no guidance or standards on how to ascertain violations of SB 129, as

demonstrated by the confusing enforcement of SB 129 by university administrators

thus far.

       Notably, in 2020, a federal court preliminarily enjoined enforcement of

Executive Order 13950, which was issued by President Trump in his prior




                                          19
administration and first introduced the banned “divisive” concepts in SB 129.5 Santa

Cruz Lesbian & Gay Cmty. Ctr. v. Trump, 508 F. Supp. 3d 521, 543 (N.D. Cal.

2020). The court held that the plaintiffs in that case were likely to succeed on the

merits of their claim that the “divisive” concepts were unconstitutionally vague, thus

justifying the preliminary injunction. Id. Further, in Honeyfund.com, Inc. v.

DeSantis, a district court considered the “Individual Freedom Act,” a law containing

prohibited concepts similar to SB 129’s divisive concepts and concluded that several

of those concepts were “certainly” void for vagueness. 622 F. Supp. 3d 1159, 1181

(N.D. Fla. 2022), aff’d, 94 F.4th 1272 (11th Cir. 2024). For example, the court

examined the Individual Freedom Act’s prohibited concept that “[m]embers of one

race, color, sex, or national origin are morally superior to members of another race,

color, sex, or national origin.” Id. at 1168-69. The Honeyfund court found this

concept to be “mired in obscurity,” and noted that the text of the law did not clarify

“what is prohibited beyond literally espousing that, for example, ‘White people are

superior to Black people.’” Id. at 1181.




       5
          The language the Alabama Legislature deployed to describe SB 129’s divisive concepts
is identical to the language used by the Trump administration to define several of the divisive
concepts in Executive Order 13950. For example, the first divisive concept included in the
Executive Order states “one race or sex is inherently superior to another race or sex.” Executive
Order on Combatting Race and Sex Stereotyping, Exec. Order No. 13950, 85 Fed. Reg. 60683
(Sept. 22, 2020). Similarly, SB 129’s first divisive concept reads “[t]hat any race, color, religion,
sex, ethnicity, or national origin is inherently superior or inferior.” SB 129 § (2)(a).
                                                20
      The Honeyfund court also found that, regardless of the vagueness of the

individual “divisive concepts,” a provision allowing discussion of the prohibited

concepts “in an objective manner without endorsement” provided another basis for

finding the law impermissibly vague. Id. at 1183. Noting that “few terms are as

loaded and contested as ‘objective,’” the court held that the lack of clarity between

“objective discussion” and “endorsement” rendered the entire law unconstitutionally

vague. Id. at 1183-84. Similarly, in Pernell, a federal district court found that the

plaintiffs were likely to succeed on the merits of their claim that Florida’s “Stop

W.O.K.E. Act”6 was unconstitutionally vague, concluding that the bill’s provision

allowing for “objective” instruction of the prohibited divisive concepts provided

“without endorsement” rendered the statute impermissibly vague on its face. 641 F.

Supp. 3d at 1281-1286.

      As in Honeyfund, Pernell, and Santa Cruz, SB 129’s divisive concept “[t]hat

any race, color, religion, sex, ethnicity, or national origin is inherently superior or

inferior” provides no guidance about what precisely would constitute expressing that

one population is “inherently superior or inferior” to another. Similarly, SB 129

contains a qualifier that the law permits the “teaching or discussion of any divisive

concept in an objective manner and without endorsement . . . provided the institution

and its employees do not compel assent to any divisive concept.” SB 129 § 3(3)(b)


      6
          The Stop W.O.K.E. Act was later renamed the Individual Freedom Act.
                                             21
(emphasis added). SB 129 fails to explain the difference between a discussion of the

divisive concepts that would be deemed, on the one hand, “objective” and “without

endorsement” and, on the other hand, “compel[ling] assent.” SB 129’s apparent safe

harbor for the teaching of “divisive concepts” in a “historically accurate” manner is

further mired in vagueness, especially given that the histories concerning many of

the concepts are subject to competing views. Accordingly, the law fails to “give the

person of ordinary intelligence a reasonable opportunity to know what is prohibited”

in violation of due process under the Fourteenth Amendment. Honeyfund, 622 F.

Supp. 3d at 1184 (quoting Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)).

      SB 129’s vague and ambiguous language also encourages inconsistent,

arbitrary, and discriminatory enforcement. University students are confused about

which student groups can be funded under SB 129 due to the lack of standards or

criteria to determine why a particular group’s mission or activities might be

considered a “diversity, equity, or inclusion program” or supportive of a “divisive

concept.” Testman Decl. ¶ 14; Luna Decl. ¶ 20; Alabama NAACP Decl. ¶ 19.

Multiple student organizations at UA and UAB have arbitrarily lost state university

funding and resources for their efforts to contribute to student life through programs

that support and celebrate the diverse members of their campuses. Testman Decl. ¶

8; Luna Decl. ¶¶ 19-22; Alabama NAACP Decl. ¶¶ 12-16. This includes at least

seven organizations, including SJAC, the Black Student Awareness Committee, the

                                         22
Indian Student Association, Spanish and Latino Association, and Korean Student

Association at UAB and the BSU, and the Safe Zone at UA. Id. And under the vague

rubric of what SB 129 considers to be a “diversity, equity, and inclusion program”

or a “divisive concept,” the law invites discriminatory enforcement against

organizations that support students of color and LGBTQIA students. Plaintiff

Testman still does not understand, due to the vagueness of SB 129, however, which

student groups’ missions and which student group activities would violate the law.

Testman Decl. ¶ 14.

      Professors like Dr. Simon also have received confusing and conflicting

guidance about SB 129, indicating that neither administrators nor educators know

what SB 129 means or how to enforce it. Simon Decl. ¶¶ 22-24, 41. For example,

UA published guidance7 about SB 129 that fails to clarify the meaning of “divisive

concepts,” merely instructing professors to rely on their own individual

interpretations of the law and UA has offered training to professors where they have

advised professors to refrain from conducting tests or evaluations on “divisive

concepts.”

      Despite this guidance, Professor Simon received a complaint of purported

violations of SB 129 based on a student-led class project, which did not entail any



      7
          Working Guidance for Compliance with Federal Law and Alabama Act 2024-34, Univ.
Ala., https://deiguidance.ua.edu/#faculty (last visited January 29, 2025).
                                           23
test or evaluation on any divisive concept. Furthermore, Professor Simon received

an initial notice that SB 129 would not impact how she could teach her curricula.

Simon Decl. ¶ 41. However, Professor Simon was reprimanded later for teaching

subject matter that neither specifically fell within the statutory definition of any

“divisive concept” nor the statutory definition of a “diversity, equity, or inclusion

program.” Simon Decl. ¶ 31. This arbitrary enforcement of SB 129 pressures

professors like Dr. Simon to overcompensate their compliance with SB 129, thereby

expanding the chilling effect on their First Amendment rights.

      Due to the vagueness of SB 129’s provisions, there are no clear parameters to

know what conduct constitutes a violation subject to discipline; how instructors must

modify their curriculum and teaching style to be in compliance with the law; what

students must do for their student organizations to qualify for university funding or

have access to university designated spaces; or what it means to “compel” assent to

divisive concepts.

II.   Absent a Preliminary Injunction, Plaintiffs Will Continue to Suffer
      Irreparable Injury.

      SB 129 has caused Plaintiffs to experience ongoing irreparable injury from

the violations of their First and Fourteenth Amendment rights, justifying a

preliminary injunction in this case. “An injury is ‘irreparable’ only if it cannot be

undone through monetary remedies.” N.E. Fla. Chapter of Ass’n of Gen. Contractors

of Am. v. City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990). Monetary

                                         24
remedies, of course, cannot undo the harms of chilled speech. For that reason, the

Supreme Court has held that “[t]he loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.” Roman

Cath. Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 67 (2020) (per curiam) (quoting

Elrod v. Burns, 427 U.S. 347, 373 (1976)). See also Cate v. Oldham, 707 F.2d 1176,

1188 (11th Cir. 1983) (quoting Deerfield Med. Ctr. v. City of Deerfield Beach, 661

F.2d 328, 338 (5th Cir. Unit B 1981) (“It is well settled that the loss of First

Amendment freedoms for even minimal periods of time constitutes irreparable

injury justifying the grant of a preliminary injunction.”)). Accordingly, the

substantial likelihood that Plaintiffs will succeed on their First Amendment claims

establishes irreparable harm per se.

      Public university professors’ irreparable harm from the violation of their First

and Fourteenth Amendments is evident from these first few months of enforcement

of SB 129. For example, Professor Simon must censor the content of her courses to

comply with SB 129 or face discipline and possible termination from UA—a risk

that already occurred last semester. Simon Decl. ¶¶ 31, 34. Moreover, in violation

of her Fourteenth Amendment due process rights, she does not know what precisely

constitutes a violation of SB 129, which broadens the breadth of the censorship

necessary to minimize the possibility of discipline. Simon Decl. ¶¶ 21-23.




                                         25
      Similarly, students like Plaintiff Luna face irreparable harm from the violation

of their First Amendment right to receive information. As a History and Political

Science double major, Plaintiff Luna has focused his studies on learning about the

impact of race and gender in past historical events and how those historical events

influence contemporary political behavior and outcomes. Luna Decl. ¶ 15. Much of

the information seemingly censored by SB 129 is central to Plaintiff Luna’s main

areas of study, and his inability to receive comprehensive instruction about these

concepts constrain the scope of his higher education. Id.

      Student Plaintiffs Testman and Luna also suffer irreparable harm from

SB 129’s viewpoint-based restrictions barring certain student organizations from

receiving funding and dedicated university spaces. Plaintiff Testman was an

executive member of SJAC, which lost all university funding for programming

because it presumably did not hold the legislature’s viewpoint, as expressed in SB

129. Testman Decl. ¶ 8. Additionally, Plaintiff Testman lost a stipend provided to

SJAC’S executive members for their contributions to UAB’s student programming.

Testman Decl. ¶ 10.

      Moreover, the student groups that SJAC supported through its programming

funding, such as Plaintiff Luna’s student group Esperanza, are harmed by the loss of

access to resources that were previously available to support their activities. Luna

Decl. ¶¶ 22-23. For example, Plaintiff Luna is harmed because Esperanza is no

                                         26
longer able to host many of the community, membership, and professional

development events that it hosted prior to SB 129 because it no longer has access to

funding from SJAC and other sources. Luna Decl. ¶¶ 22-25. Because Esperanza’s

mission demonstrates that its programming is specifically geared towards Latine

students, Plaintiff Luna fears that any events that it holds will be considered related

to a divisive concept, and its event funding applications will therefore be denied.

Luna Decl. ¶ 19. Likewise, student members of the Alabama NAACP no longer have

access to supportive and affirming physical spaces and programming provided by

student organizations focused on the needs of Black and LGBTQIA students at UA,

which causes them to be disadvantaged by virtue of their perceived viewpoints,

rather than a legitimate reason. Alabama NAACP Decl. ¶¶ 14-17.

       In a mere few months, SB 129 swiftly censored the academic life of the UA

system. Collectively, SB 129 creates a vague and confusing web of uncertainty that

undermines the First Amendment and Fourteenth Amendment due process rights of

students and educators in Alabama. The Court should issue an injunction to halt

these constitutional violations causing irreparable injury to the academic

community, including Plaintiffs, in Alabama’s public universities.

III.   The Balance of Equities Favors Granting a Preliminary Injunction.

       The ongoing injury to Plaintiffs’ First Amendment and Fourteenth

Amendment due process rights outweighs any hypothetical damage an injunction


                                          27
would cause Defendants. These constitutional violations are ongoing: SB 129 has

chilled the speech of public university educators, including Professor Simon, to

impose the Alabama Legislature’s favored viewpoint; it has denied to students like

Plaintiffs Luna and Testman their right to receive information from university

professors; and it has caused students, including Plaintiffs Luna and Testman and

student members of Plaintiff Alabama NAACP, to lose university funding for certain

student organizations and designated campus spaces for certain student

organizations, based on the presumed viewpoint of the student organizations and

their student leaders. The harms from these constitutional violations are per se

irreparable.

       On the other hand, Defendants do not risk any irreparable damage from a

preliminary injunction.8 See KH Outdoor v. City of Trussville, 458 F.4d 1261, 1272

(“[T]here can be no irreparable harm to a municipality when it is prevented from

enforcing an unconstitutional statute”). Similarly, Defendants have no legitimate

interest in a law that is unconstitutional. Id. Since there is no legitimate government

interest in SB 129, the balance of equities tips with full weight in Plaintiffs’ favor.



       8
        Plaintiffs request that the Court waive the bond requirement under Fed. R. Civ. P. 65(c).
While courts in the Eleventh Circuit generally require a bond before issuing injunctive relief under
Rule 65(c), it is within the district court’s discretion to waive this requirement. See Transcon. Gas
Pipe Line Co. v. 6.04 Acres, 910 F.3d 1130 (11th Cir. 2019); Corrigan Dispatch Co. v. Casa
Guzman, S. A., 569 F.2d 300, 303 n.5 (5th Cir. 1978). Irreparable harm to constitutional rights is
ongoing, and Defendants cannot show an injunction would cause them any injury necessitating a
bond. Therefore, waiver is warranted.
                                                28
IV.      A Preliminary Injunction Would Serve the Public Interest.

         Courts in this circuit have consistently recognized that “it is always in the

public interest to protect First Amendment liberties.” Id. at 1272. More broadly,

courts recognize “the public interest is served when constitutional rights are

protected.” Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir.

2019).

         Here, these principles have particular importance because constitutional

violations are occurring in higher education. As the Eleventh Circuit and the

Supreme Court have recognized, “[n]owhere is free speech more important than in

our leading institutions of higher learning.” Speech First, 32 F.4th at 1128; see also

Grutter v. Bollinger, 539 U.S. 306, 329 (2003).

         Until the Court has an opportunity to fully consider the merits of Plaintiffs’

claims, the Court should preliminarily enjoin SB 129 so Alabama’s public

universities can continue to “advance the intellectual and social condition of the

people of the state, the nation and the world.”9




         9
          Mission and Objectives, Univ. Ala., https://www.ua.edu/about/mission/ (last accessed
Jan. 27, 2025).
                                             29
                                 CONCLUSION

      Plaintiffs respectfully request that the Court preliminarily enjoin Defendants

from enforcing SB 129 for the reasons set forth above.


Dated this 30th day of January 2025.

                                          Respectfully submitted,

/s/ Alison Mollman                        /s/ Antonio L. Ingram II
Alison Mollman                            Antonio L. Ingram II*
ASB-8397-A33C                             Mide Odunsi*
ACLU of Alabama                           NAACP Legal Defense
PO Box 6179,                              & Educational Fund, Inc.
Montgomery, AL 36106                      700 14th Street NW, Ste. 600
(510) 909-8908                            Washington, DC 20005
amollman@aclualabama.org                  (202) 682-1300

/s/ Daniel A. Cantor                      /s/ Carmen Lo
Daniel A. Cantor*                         Carmen Lo*
Arnold & Porter Kaye Scholer LLP          Arnold & Porter Kaye Scholer LLP
601 Massachusetts Ave, NW                 3000 El Camino Real
Washington, DC 20001-3743                 Five Palo Alto Square, Suite 500
(202) 942-5000                            Palo Alto, CA 94306-3807
                                              (650) 319-4500
/s/ Michael Rogoff
Michael A. Rogoff*
Arnold & Porter Kaye Scholer LLP
250 West 55th Street
New York, NY 10019-9710
(212) 836-7684                            *Admitted pro hac vice




                                        30
